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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                                                                         IL0
                               SAN ANTONIO DIVISION                                 Lp


UNITED STATES OF AMERICA,                                CRIMINAL NO

         Plaintiff,                                      INDICTMEN
                                                         [Vio. 21 U.S.C. § $41(a)(1) and 841
                                                         (b)(1)(A) & 18 U.S4C. § 2 Aiding and
ADRIAN CHRISTOPHER AGUILAR (1)                           Abetting in the Possession with intent
and                                                      to Distribute 50 graris or more of
ELIZABETH ASHLE BORREGO (2),                             Methamphetamine, a Schedule II
                                                         Controlled Substance;
         Defendants.                                     Vio. 18 U.S.C. 924(c) Possession of a
                                                         Firearm in Furtherance of a Drug
                                                         Trafficking Offense;
                                                         Vio. 18 U.S.C. § 922(g)(1) &
                                                         924(a)(2), Felon in Possession of a
                                                         Firearm;
                                                         Vio. 21 U.S.C. § 41(a)(l) and 841
                                                         (b)(1)(A) & 18 U.S.c. 2 Aiding and
                                                         Abetting in the Eistibution of 50
                                                         grams or more of Mthmphetamine, a
                                                         Schedule II Control1d Substance: and
                                                         Vio. 21 U.S.C. § 841(a)(1) and 841
                                                         (b)(1)(A) Distribution of 50 grams or
                                                         more of Methamphetamtine]


THE GRAND JURY CHARGES:                 SA 1 9 CR 0 1 8 1
                                        COUNT ONE
                  [21 U.S.C. §   841(a)(1) and 841(b)(1)(A) & 18 U.S.C.   § 2   1




       On or about December 19, 2018, in the Western District of Texas, Defendants,


                         ADRIAN CHRISTOPHER AGUILAR and
                           ELIZABETH ASHLE BORREGO,

aided and abetted by each other, did unlawfully, knowingly and intentionally posess with intent

to distribute a controlled substance, which offense involved 50 grans or more of

Methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and 84l(b)(1)(A) and Title 18, United States Code, Section 2.
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                                                 COUNT TWO
                                             [18 U.S.C. §924(c)]

           On or about December 19, 2018, in the Western District of Texas, Defendant,

                                ADRIAN CHRISTOPHER AGUILAR,

 did knowingly possess firearms, namely: a Taurus Millennium G2, 9mm caliber pistol, Serial Number

 TKY8 1448, in furtherance of a drug trafficking crime that may be prosecuted in a court of the United

 States, that is the offense alleged in Count One, in violation of Title 18, United States Code, Section

 924(c).

                                             COUNT THREE
                                [18 U.S.C.   §   922(g)(1) & 924(a)(2)]

           On or about December 19, 2018, in the Western District of Texas, Defendant,

                               ADRIAN CHRISTOPHER AGUILAR,

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did

knowingly possess in and affecting interstate commerce a firearm, namely: a Taurus Millennium

G2, 9mm caliber pistol, Serial Number TKY8 1448, which had been transported in interstate

commerce, in violation of Title 18, United States Code, Sections 922(g)( 1) and 924(a)(2).


                                            COUNT FOUR
                      [21 U.S.C. §   841(a)(1) and 841(b)(l)(A) & 18 U.S.C.    §   2]
        On or about December 17, 2018, in the Western District of Texas, Defendants,

                             ADRIAN CHRISTOPHER AGUILAR and
                               ELIZABETH ASHLE BORREGO,

aided and abetted by each other, did unlawfully, knowingly and intentionally distribute a controlled

substance, which offense involved 50 grams or more of Methamphetamine, a Schedule II Controlled

Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 b)(1 )(A) and Title

18, United States Code, Section 2.
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                                                 COUNT FIVE
                                [21 U.S.C.   §   841(a)(1) and 841(b)(1)(A)]

         On or about November 1, 2018, in the Western District of Texas, Defendant,

                                ADRIAN CHRISTOPHER AGUILAR,

did unlawfully, knowingly and intentionally distribute a controlled substance, which offense involved

50 grams or more   of Methamphetamine, a Schedule II Controlled Substance, in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A).



      NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FQ1FEITURE
                          [See Fed. R. Crim. P. 32.21


                                                      I.

                             Drug Violations and Forfeiture Statutes
           [Title 21 U.S.C. § 841(a)(1) and (b)(1)(A), subject to forfeiture pursuant to
                               Title 21 U.S.C. § 853(a)(1) and (2)]

       As a result of the foregoing criminal violations set forth in Count One, Four, and Five, the

United States of America gives notice to Defendant's ADRIAN CHRISTOPHER AGUILAR and

ELIZABETH ASHLE BORREGO, of its intent to seek the forfeiture of the below described

properties upon conviction and pursuant to Fed. R. Crim. P. Rule 32.2 and Title 21 USC § 853(a)(1)

and (2), which state:

       Title 21 USC § 853. Criminal forfeitures
               (a) Property subject to criminal forfeitures.
               Any person convicted of a violation of this subchapter or subchapter II of this chapter
               punishable by imprisonment for more than one year shall forfeit to the United States,
               irrespective of any provision of State law

                        (1) any property constituting, or derived from, any proceeds the
                        person obtained, directly or indirectly, as the result of such violation;
                        (2) any of the person's property used, or intended to be used, in any
                        manner or part, to commit, or to facilitate the commission of, such
                        violation;
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                                                         II.
                             Firearms Violation and Forfeiture Statutes
      [Title 18 U.S.C. § 924(c) and 922(g)(1), subject to forfeiture pursuant to Title 18 U.S.C.
                                                                                                 §
              924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 24611


          As a result of the criminal violations set forth in Counts Two and Thre; the United States of

 America gives notice to Defendant ADRIAN CHRISTOPHER AGUILAR, of it intent to seek the

 forfeiture of the below described properties upon conviction and pursuant to Fed. R. Crim. P. 32.2

and Title 18 U.S.C.     §   924(d)(l), made applicable to criminal forfeiture by Title 28 U.S.C.           2461,
                                                                                                       §

which states:

          Title 18 U.S.C. § 924. Penalties
          (d)(l) Any firearm or ammunition involved in or used in any knowing viQlation of
          subsection.. . (g). . . of section 922. . . or knowing violation of section 924. . . shall
          be subject to seizure and forfeiture. . . under the provisions of this chapter.

This Notice of Demand for Forfeiture includes but is not limited to the following ptuperties described

below:

              Taurus Millennium G2, 9mm caliber pistol, Serial Number TKY8 1448;; and

         2. Any related ammunition and firearm accessories.




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JOHN F. BASH
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                                  1)
By:
         PRIS LLA GARCIA0
         Assistant United States Attorney




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